Case 4:22-cr-00034-O Document 138 Filed 03/16/22   Page 1 of 8 PageID 403
Case 4:22-cr-00034-O Document 138 Filed 03/16/22   Page 2 of 8 PageID 404
Case 4:22-cr-00034-O Document 138 Filed 03/16/22   Page 3 of 8 PageID 405
Case 4:22-cr-00034-O Document 138 Filed 03/16/22   Page 4 of 8 PageID 406
Case 4:22-cr-00034-O Document 138 Filed 03/16/22   Page 5 of 8 PageID 407
Case 4:22-cr-00034-O Document 138 Filed 03/16/22   Page 6 of 8 PageID 408
Case 4:22-cr-00034-O Document 138 Filed 03/16/22   Page 7 of 8 PageID 409
Case 4:22-cr-00034-O Document 138 Filed 03/16/22   Page 8 of 8 PageID 410
